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                                United States District Court
                                     SOUTHERN DISTRICT OF GEORGIA
                                          BRUNSWICK DIVISION

                          CHANGE OF PLEA/ENTRY OF PLEA MINUTES


Case No. CR218-14
United States of America
           vs.                                                   Greg Gilluly
                                                                 ____________________________________
Kenneth Leon Bradley
                                                                 U. S. Attorney
10:04 - 10:42
___________________________                                      Wrix McIlvaine
                                                                 ____________________________________
 Defendant/Age                                                   Attorney for Defendant


    ✔ Plea agreement (Received).                ✔ Defendant Sworn                 Counsel Waived.

         Plea agreement previously filed.

         Arraigned and plead _______________________ to count(s) _________________________________ .
    ✔ Plea of not guilty withdrawn and plea of _________________________________
                                                             Guilty              entered as to count(s)
                 Count One (1)
         ____________________________ of the indictment/information.
                                             indictment.
                                                                                    S/A Kennedy
    ✔ Factual basis Established. Oral. Plea
                    __________________      Accepted Witness for factual basis ____________________ .
                                       ____________
    ✔ Adjudication of guilt ________
                             Made.
    ✔ Referred to probation office for pre-sentence investigation Yes.
                                                                  ____
    ✔ Sentencing Scheduled for _________________________
                                       Later Date                        TBD
                                                         at ______________________________ .

         Bond Continued       ____           Bond modified to _________________________ .

         Bond set at _____________________     _________
    ✔ Bond not made defendant in jail.

    ✔ Defendant remanded to custody of United States Marshal.




Honorable Lisa Godbey Wood, U. S. District Court Judge           Date 10/22/2018
Court Reporter         Debra Gilbert                             Probation Officer Nicole Migut
Courtroom Deputy Clerk       Whitney Sharp                       U.S. Marshal Marty
